     Case 1:05-cr-01849-JCH       Document 352-1      Filed 02/22/06    Page 1 of 7




                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

              Plaintiff,

       vs.                                             CRIMINAL NO.         01-1709 MCA

LUIS CISNEROS,
FELIPE N. CISNEROS,
PAUL E. EPPINGER,
RAYMOND LLAMAS,
ANGEL R. RIVERA,
ARMANDO R. ALVARADO,
and LORENA CISNEROS,

              Defendants.



                      MEMORANDUM OPINION AND ORDER


       THIS MATTER comes before the Court on Defendants’ Motion to End

Unconstitutional Conditions of Confinement [Doc. No. 263] filed on February 4, 2003.

Having considered the parties’ submissions, the applicable law, and being fully advised in

the premises, the Court finds that grounds exist for denying Defendants’ motion without

prejudice as set forth below.

I.     BACKGROUND

       Defendants Luis Cisneros, Felipe Cisneros, Paul Eppinger, Raymond Llamas, Angel

Rivera, Armando Alvarado, and Lorena Cisneros have been indicted [Doc. No. 2, 44, 145]
      Case 1:05-cr-01849-JCH        Document 352-1        Filed 02/22/06     Page 2 of 7




and arraigned in this matter. [Doc. No 92, 103, 123, 125, 156, 157, 165, 166, 167, 169.]

They have been ordered detained pending trial, and they remain in custody as of the date of

this Memorandum Opinion and Order. [Doc. No. 54, 93, 103, 137, 172, 173.]

       The Third Superseding Indictment [Doc. No. 145] charges Defendants Luis

Cisneros, Felipe Cisneros, Paul Eppinger, Raymond Llamas, Angel Rivera, and Armando

Alvarado with numerous offenses, some of which carry a maximum statutory penalty of

death. The Third Superseding Indictment charges Defendant Lorena Cisneros with RICO

conspiracy and stolen vehicle conspiracy. Neither of the offenses with which Defendant

Lorena Cisneros is charged carries a maximum penalty of death.

       On February 4, 2003, Defendants moved for an order ending the current conditions

of their confinement.       Specifically, Defendants challenge (1) their placement in

administrative segregation; (2) the fact that they are regularly shackled when they are out of

their segregation units; (3) the fact that they are not provided with adequate recreational

opportunities and facilities; (4) the fact that they are not provided with or allowed to possess

various other items including warm weather clothing, cleaning supplies, televisions or radios,

and more than ten commissary items a week; and (5) the fact that they are not being provided

with prescribed medications. Defendants further complain about the high level of security

during transport from the detention facility to the courthouse (including surveillance by a

helicopter) as well as the high level of security inside the courthouse.

       Defendants argue that the current conditions of their confinement are punitive and,

therefore, violate the Fifth and Fourteenth Amendments to the United States Constitution.

                                              -2-
      Case 1:05-cr-01849-JCH        Document 352-1       Filed 02/22/06     Page 3 of 7




They also argue that the current conditions violate standards of human decency and,

therefore, violate the Fifth and Eighth Amendments, and that they are being denied equal

protection in violation of the Fifth and Fourteenth Amendments. Finally, they argue that the

current conditions interfere with their right to consult with counsel, their ability to prepare

a defense, and their access to the courts, in violation of the Sixth Amendment. Defendants

further request an evidentiary hearing to present evidence that the current conditions of

confinement are punitive. They also request pre-hearing discovery to determine the

existence of any decision, finding, or communication which relates to the current conditions.

       The Government opposes the motion, arguing that the conditions of confinement are

for security purposes and are not punitive, that the conditions do not constitute cruel and

unusual punishment, that Defendants are not treated differently from other similarly-situated

pretrial detainees, and that their Sixth Amendment rights are not being violated.

II.    ANALYSIS

       Initially, the Court notes that because all of Defendants’ claims challenge their

conditions of confinement and related civil rights allegations, they may be cognizable

pursuant to either 42 U.S.C. § 1983 or Bivens v. Six Unknown Named Agents of Fed.

Bureau of Narcotics, 403 U.S. 388 (1971). See Wilson v. Blankenship, 163 F.3d 1284 (11th

Cir. 1998) (pre-trial detainee challenged conditions of confinement by way of actions

pursuant to Section 1983 and Bivens). As to the majority of Defendants’claims, the Court

finds that the claims may be more appropriately raised in that context, and the motion should,

therefore, be denied without prejudice.

                                              -3-
      Case 1:05-cr-01849-JCH         Document 352-1        Filed 02/22/06     Page 4 of 7




       To the extent that Defendants argue that the conditions of confinement interfere with

their right to consult with counsel, their ability to prepare a defense, and their access to the

courts, such claims are directly related to the fairness of the instant trial and are, therefore,

considered here. In considering these claims, the Court is mindful of the “very limited role

that courts should play in the administration of detention facilities.” Block v. Rutherford,

468 U.S. 576, 584 (1984). Moreover, “[p]rison administrators [are to be] accorded wide-

ranging deference in the adoption and execution of policies and practices that in their

judgment are needed to preserve internal order and discipline and to maintain institutional

security.” Bell v. Wolfish, 441 U.S. 520, 547 (1979). Defendants make various arguments

and request that an evidentiary hearing be held. In order to warrant an evidentiary hearing,

defendants must demonstrate a "colorable claim" for relief. United States v. Brink, 39 F.3d

419, 424 (3d Cir.1994) (remanding for hearing where Brink alleged facts that, if true, "could

violate a defendant's rights under the Sixth Amendment"). Based on the following, the Court

finds that an evidentiary hearing is not warranted.

       Defendant Luis Cisneros argues that when he appeared for a post-detention pre-trial

proceeding, he was so closely monitored by U.S. Marshals that confidential attorney-client

communication in the courtroom was virtually impossible. Notably, neither Mr. Cisneros

nor his counsel objected at the time of the hearing. Even assuming, arguendo, that the U.S.

Marshals were standing unusually close to Mr. Cisneros, he has not stated a colorable claim

for relief. In particular, this was apparently a single event, and Mr. Cisneros has not alleged

that he had no other opportunities to communicate with counsel. Mr. Cisneros further

                                               -4-
      Case 1:05-cr-01849-JCH         Document 352-1        Filed 02/22/06     Page 5 of 7




alleges that he was subjected to the use of the “black box” during this hearing. A “black

box” is a small device which fits over a set of handcuffs to prevent a detainee from picking

the lock. The Court notes, and counsel are here reminded, that the Court ordered the removal

of the “black box” after objection at the start of the hearing.    Defendants also argue that the

fact that they are shackled during visits from their attorneys prohibits them from

communicating freely and meaningfully with their attorneys. Despite wearing shackles,

Defendants are allowed direct contact with their attorneys, and are only limited in the extent

of movement each can enjoy. The Court, therefore, finds that Defendants have failed to state

a colorable claim for relief, in that they have failed to allege how the shackling prohibits

them from communicating with their attorneys. See Young v. Larkin, 871 F. Supp. 772, 784

(M.D. Pa.1994).

       Defendant Armando Alvarado argues that his mitigation specialist was refused entry

to visit Mr. Alvarado. In the affidavit of his attorney in support of this claim, however, his

attorney concedes that the matter has been resolved. Mr. Alvarado is, therefore, presumably

free to visit with his mitigation specialist, obviating the need for relief at this time.

       Defendants argue that if they are to continue in administrative segregation, their

ability to review volumes of evidence, to recall crucial details of their lives, or to understand

various aspects of the case could be impaired. They also argue that the ability to maintain

good behavior while confined is threatened by the current conditions of confinement, and

that they may be driven to respond to their unfair conditions in ways that could develop

evidence for the prosecution in the penalty phase. Both of these arguments, however, are

                                               -5-
       Case 1:05-cr-01849-JCH       Document 352-1       Filed 02/22/06    Page 6 of 7




purely speculative, and Defendants have, therefore, not stated a colorable claim for relief as

to either argument.

        Defendants also argue that they have been prevented access to the courts. Defendants

have not shown, however, that they are being prevented from going to court, or that their

access to their attorneys has been limited or restricted. Rather, they complain of the

conditions under which they are taken to court and permitted visitation by their attorneys.

The Court, therefore, finds that Defendants have again failed to state a colorable claim for

relief. Cf. May v. Sheahan, 226 F.3d 876, 883 (7th Cir. 2000) (disapproving a policy

preventing detainees from going to court and limiting drastically their access to attorneys).

        Finally, Defendants complain about the intense security present during transport to

the courthouse from the detention facility, as well as the level of security within the

courthouse during their presence. In this regard, the Court notes that matters of courthouse

security are within the expertise of the United States Marshals Service, which is statutorily

mandated to apply its expertise to provide for the security of United States District Court

facilities. See 28 U.S.C. 566(a). In the case of non-jury court proceedings, the court may

defer to the professional judgment of the United States Marshals Service without an

independent, judicial evaluation of the precautions deemed necessary by the Marshals

Service. United States v. Zuber, 118 F.3d 101, 104 (2nd Cir. 1997).

III.    CONCLUSION

        For the foregoing reasons, Defendants’ motion must be denied without prejudice to

Defendants’ right to institute an action pursuant to 42 U.S.C. § 1983 and/or Bivens.

                                             -6-
    Case 1:05-cr-01849-JCH   Document 352-1   Filed 02/22/06   Page 7 of 7




     IT IS, THEREFORE, ORDERED that Defendants’ Motion to End

Unconstitutional Conditions of Confinement [Doc. No.263] is DENIED WITHOUT

PREJUDICE.

     SO ORDERED this 27th day of March, 2003, in Albuquerque, New Mexico.



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                                                     M. CHRISTINA ARMIJO
                                                     United States District Judge




                                     -7-
